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United States District Court
uthern District of Texas
ENTERED
IN THE UNITED STATES DISTRICT COURT DEC 0 8 2009
FOR THE SOUTHERN DISTRICT OF TEXAS Clerk of Court
BROWNSVILLE DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, §
§
V. § Civil No. 1:08-cv-428
§
6.09 ACRES OF LAND, More or Less §
Situate in CAMERON COUNTY, §
STATE OF TEXAS; and §
ROLLINS M. KOPPEL, TRUSTEE, §
et al., §
Defendants. §
ORDER

The Court held a telephone conference in this matter on December 3, 2009. Pursuant to that
conference, the Court issues the following findings and orders.

The Plaintiff's Motion for Protective Order and to Quash Deposition Notices (Docket No.
80) is DENIED. The United States is ORDERED to produce Loren Flossman and David Pagan for
deposition in Washington, D.C., on a date to be agreed upon by the parties.

Ata hearing on October 9, 2009, in another case, the Court gave the parties a proposed jury
charge for all border wall just compensation cases pending before the Court. The United States is
ORDERED to produce a copy of the draft jury charge to the Defendant, and both Plaintiff and
Defendant are ORDERED to submit objections/suggestions/modifications/additions to that draft jury
charge on or before December 31, 2009.

On or before December 11, 2009, the United States is ORDERED to produce to Defense
Counsel a photograph(s) that match the description given by Mr. Scudder in his deposition of what
the border wall may look like in the future including serpentine wire, cameras, and increased height.

In addition, the United States is ordered to deliver a letter to Defense Counsel, with copy to the
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Court, addressing the following issues; (1) whether the United States has any plans, either short- or
long-term, to alter the fence on Defendant’s property in any manner; (2) whether the United States
plans to offer evidence at trial that the border fence has benefitted the property by increasing the
security of the landowner’s property after construction of the border wall; and (3) the United States’
progress in gathering and producing any non-privileged information it has received concerning the
impact the border wall has had on real estate development plans on any property starting one mile
north and/or west of the defendant’s property and ending at the Gateway International Bridge on
International Boulevard. Finally, the United States is ORDERED to deliver to Counsel for Texas
Southmost College a letter concerning whether construction of the border wall will impact a levee
easement owned by Texas Southmost College.

Defendant Koppel is ORDERED to produce the work file of B.C. Prothero. Defense
Counsel’s request for records of illegal immigrant apprehensions or any other safety reports

concerning Defendant’s property is hereby conditionally DENIED.

Signed on this, the 3rd day of December, 2009.

KA]

Andrew S. Hanen
United States District Judge

 
